The Official Web Site for Virginia’s Judicial System

   9+
  
   
  
  
       Home 
 Virginia's Court System
     Virginia Courts in Brief 
       Supreme Court of Virginia
         About 
           Calendar 
           Case Status and Information 
           Forms 
           Information Regarding Petitions for Appeal Docketed for a Writ Panel Hearing
           Information Regarding Pending Appeals that Have Been Granted
             Appeals Granted 
               Argument Docket 
               Counsel in Decided Cases 
            
           Justices of the Supreme Court of Virginia  
           Office of Chief Staff Attorney 
           Oral Arguments 
           Opinions
             By Date Issued (since 6/9/95) 
               Opinions Search 
            
           Petitions for Rehearing 
           Resources and Reference Materials
             Americans with Disabilities Act (ADA) 
               Code of Virginia 
               Instructions for Qualification as Corporate Counsel Before this Court 
               Instructions for Attorneys Arguing Granted Cases Before the Court 
               Procedures for Obtaining a Certificate of Good Standing from the Clerk of the Supreme Court 
               Supreme Court of Virginia Computers
          in the Courtroom Policy 
               Supreme Court of Virginia Informational Pamphlet 
            
           Rules of the Supreme Court of Virginia
             Rules of the Supreme Court of Virginia 
               Amendments to Rules of the Supreme Court of Virginia                Amendments Arranged by Rule, with Amendments Tracked 
               Proposed Amendments to Rules of the Supreme Court of Virginia 
               Call for Comment on Draft Revisions to Rules of Court 
               Prior Requests for Comments on Draft Revisions to Rules of Court 
               Medical Malpractice Rules of Practice 
            
           
        
       Court of Appeals of Virginia
         About 
           Calendar 
           Case Status and Information 
           Dockets 
           Forms 
           Judges of the Court of Appeals of Virginia 
           Office of Chief Staff Attorney 
           Opinions
             Opinions Search 
               Published Opinions (5/2/95  present) 
               Unpublished Opinions (3/5/02  present) 
            
           Resources and Reference Materials
             Americans with Disabilities Act (ADA) 
               Code of Virginia 
               Court of Appeals of Virginia Informational Pamphlet 
               Guidelines for Filing Digital Briefs 
               Rules of the Supreme Court of Virginia 
            
        
       Circuit Court
         Individual Circuit Court Homepages 
           Case Status and Information
             Circuit Court Case Information 
               Fees 
               Circuit Court Records Information 
            
           Forms 
           Manuals
            Court-Appointed Counsel Procedures &amp; Guidelines Manual
              Court-Appointed Counsel Eligibility
			  Circuit Court Clerks' Duties List 
              Circuit Court Clerk's Manual - Civil
              Circuit Court Clerk's Manual - Criminal
                          
            
           Programs
             Drug Treatment Courts 
               Foreign Language Services 
               Guardians Ad Litem 
               Judicial Settlement Conference 
               Mediation 
               Parent Education 
            
           Resources and Reference Materials
             Americans with Disabilities Act (ADA) 
               Circuit Courts Informational Pamphlet  
               Commissioners of Accounts
         Circuit Court Fiduciary Forms 
        
           Manual for Commissioners of Accounts 
		     Alphabetical Listing of Commissioners of Accounts 
             Uniform Fee Schedule Guidelines         


               Guardians and Conservators of Incapacitated Adults 
               Jury Service 
               Probate and Estate Administration 
               Records Management and Retention, Library of Virginia 
               Rules of the Supreme Court of Virginia 
               Unclaimed Property Division, Virginia Department of the Treasury  
            
        
       General District Court
         Individual General District Court Homepages 
           Case Status and Information
             General District Court Case Information 
               General District Court Civil Filing Fee Calculation 
            
           Forms 
           Pay Traffic Tickets and Other Offenses
             Payments Online (General District Courts Only) 
               Payments by Mail 
            
           Programs
             Drug Treatment Courts 
               Foreign Language Services 
               Mediation 
            
          Manuals
            Court-Appointed Counsel Procedures &amp; Guidelines Manual
              Court-Appointed Counsel Eligibility
			   District Court Forms Manual 
               District Court Judges Benchbook 
               General District Court Manual
            
           Resources and Reference Materials
             Americans with Disabilities Act (ADA) 
               Code of Virginia 
               Commonwealth of Virginia Agency Websites 
               General District Courts Informational Pamphlet 
               Licensed Property and Surety Bail Bondsmen 
               Rules of the Supreme Court of Virginia 
               Small Claims Court Procedures 
            
        
       Juvenile and Domestic Relations District Court
         Individual Juvenile and Domestic Relations District Court Homepages 
           Forms 
           Manuals
            Court-Appointed Counsel Procedures &amp; Guidelines Manual
              Court-Appointed Counsel Eligibility
			  District Court Forms Manual 
               District Court Judges Benchbook 
               Juvenile and Domestic Relations District Court Manual 
            
           Programs
             Assistance with Protective Orders (I-CAN!) 
               Court Improvement Program 
               Drug Treatment Courts 
               Foreign Language Services 
               Guardians Ad Litem 
               Mediation 
               Parent Education 
            
           Resources and Reference Materials
             Americans with Disabilities Act (ADA) 
               American Bar Association (ABA) Center on Children and the Law 
               Code of Virginia 
               Commonwealth of Virginia Agency Websites 
               Juvenile and Domestic Relations District Courts Informational Pamphlet 
               National Council of Juvenile and Family Court Judges 
               Rules of the Supreme Court of Virginia 
            
        
       Magistrate System
         About 
           Complaint Procedure
             Instructions 
               Magistrate Complaint Form 
            
           Magistrate System Organizational Chart  
           Map Showing Virginias Magisterial Regions 
           Resources and Reference Materials
             Americans with Disabilities Act (ADA) 

               Chapter 3 of Title 19.2 of the Code of Virginia 
               Magistrate Manual 
            
        
	   Special Justices
	         Forms 
			     Resources and Reference Materials 
		              Americans with Disabilities Act (ADA) 
				      Training Standards and Appointment Guidelines 
				 
					 
					  Employment Opportunities
       General Contact Information for All Courts
         Supreme Court of Virginia  
           Court of Appeals of Virginia  
           Circuit Courts 
           District Courts 
           Chief Judges  
           Justices and Judges 
           Substitute Judges  
        
       Office of the Executive Secretary (OES)
         Assistant Executive Secretary and Counsel
            
          
           Court Improvement Program
             Programs 
               Resources and Reference Materials 
            
           Educational Services 
           Fiscal Services
             Chart of Allowances 
               Forms 
               Judicial Travel Guidelines 
			   Procurement 
            
           Human Resources
             Americans with Disabilities Act (ADA) 
               Employment 
            
           Judicial Information Technology 
           Judicial Planning
             Comprehensive Planning Activities 
               Statistical Information 
               Programs 
            
           Judicial Services
             Circuit Court Services 
               General District Court Services 
               Juvenile and Domestic Relations District Court Services 
               Dispute Resolution Services 
               Drug Treatment Court Services 
               Foreign Language Services 
               Magistrate Services 
               Department Organizational Chart 
               Programs 
            
           Legal Research 
           Legislative and Public Relations
             Legislative Websites 
            
        
         
	   Americans with Disabilities Act (ADA) 
     Online Services
     Pay Traffic Tickets and Other Offenses
         Payments Online (General District Courts Only) 
           Payments by Mail 
        
       Assistance with Protective Orders (I-CAN!)
         I-CAN!TM Virginias Online Forms Completion System for Protective Orders 
           I-CAN! Resources
             Frequently Asked Questions 
               Manual for Local Workgroups 
            
           Court-Specific Information for Filing Protective Order Petitions 
           Juvenile and Domestic Relations District Court 
        
       Case Status and Information
         Supreme Court of Virginia 
           Court of Appeals of Virginia 
           Circuit Court 
           General District Court 
        
       Circuit Court Records Information 
       Employment Opportunities 
       Fees
         Circuit Court Civil Filing Fee Calculation 
           Deed Calculation 
           General District Court Civil Filing Fee Calculation 
        
       Opinions Search 
       Searchable Directories
         Certified Court-Appointed Attorneys 
           Guardians Ad Litem
             For Children Listed by District 
               For Incapacitated Adults Listed by District 
            
           Justices, Judges, Clerks and Chief Magistrates 
           Magistrates 
           Mediation
             Court Certified Mediators by Circuit 
               Find A Circuit Court Mediator 
               Mediator Mentors by Circuit 
               Searchable Mediator Directory (by qualifications) 
            
           Find a Parent Education Seminar 
		   Circuit Court 
               Juvenile &amp; Domestic Relations Court             
        
    
 Case Status and Information
     Supreme Court of Virginia 
       Court of Appeals of Virginia 
       Circuit Court
         Case Information 
           Fees
             Civil Filing Fee Calculation 
               Deed Calculation 
            
           Records Information 
        
       General District Court
         Case Information
             Pay Traffic Tickets and Other Offenses 
            
           Civil Filing Fee Calculation 
        
       Juvenile and Domestic Relations District Court 
    
 Court Administration
     Office of the Executive Secretary (OES)

         Assistant Executive Secretary and Counsel
           
          
           Court Improvement Program
             Programs 
               Resources and Reference Materials 
            
           Educational Services 
           Fiscal Services
             Chart of Allowances 
               Forms 
               Judicial Travel Guidelines 
			   Procurement 
            
          
           Human Resources
             Americans with Disabilities Act (ADA) 
			    Employment 
            
           Judicial Information Technology 
           Judicial Planning
             Comprehensive Planning Activities 
               Statistical Information 
               Programs 
            
           Judicial Services
             Circuit Court Services 
               General District Court Services 
               Juvenile and Domestic Relations District Court Services 
               Dispute Resolution Services 
               Drug Treatment Court Services 
               Foreign Language Services 
               Magistrate Services 
               Department Organizational Chart 
               Programs 
            
           Legal Research 
           Legislative and Public Relations
             Legislative Websites 
            
        
       Judicial Policy Making Bodies
         Judicial Council 
           Committee on District Courts 
           Judicial Conference of Virginia 
           Judicial Conference of Virginia for District Courts 
        
       State Law Library
         Legal Links
             Virginia Codes, Rules and Statutes 
               Federal Links 
               Virginia State and Local Government 
               Legal Publications Online 
               Law Schools in Virginia 
               National Judicial Administration Organizations 
               Other Resources 
            
           Research Requests  
           The Library Collection 
           Virginia Public Law Libraries 
           SCV Historical Advisory Committee
        
     Directories
     Bail Bondsmen (Licensed Property and Surety) 
       Certified Court-Appointed Attorneys 
       Commissioners of Accounts
       General Contact Information for All Courts
         Supreme Court of Virginia 
           Court of Appeals of Virginia 
           Circuit Courts 
           District Courts 
           Chief Judges 
           Justices and Judges 
           Substitute Judges 
        
       Guardians Ad Litem
         For Children
             Listing in Alphabetical Order  
               Listing of Qualified Guardians Ad Litem for Children by District (Map) 
            
           For Incapacitated Adults
             Listing in Alphabetical Order 
               Listing of Qualified Guardians Ad Litem for Adults by District (Map) 
            
        
       Interpreters
         Blind and Vision Impaired  
           Deaf and Hard of Hearing 
        
       Judicial Settlement Conference Judges 
       Magistrates 
       Mediation
         Alternative Dispute Resolution Organizations 
           Court Certified Mediators (by Circuit) 
           Find a Circuit Court Mediator 
           Mediator Mentors (by circuit) 
           Mediation
          Coordinator Contractors (by locality)  
           Mediation Coordinator Contractors (by organization) 
           Mediation Services Contractors (by locality) 
           Searchable Mediator Directory 
           Virginia Association of Community Conflict Resolution 
        
        Find a Parent Education Seminar 
		   Circuit Court 
               Juvenile &amp; Domestic Relations Court              
        
       Public Law Libraries 
       Search for Justices, Judges, Clerks and Chief Magistrates 
     Forms
     Supreme Court of Virginia 
       Court of Appeals 
       Circuit Court
         Forms Available for Completion Online
             Criminal 
               Civil 
               Deed Book 
               Fiduciary 
               Certificate of Assumed or Fictitious Name 
            
           Circuit Court Forms List 
           Sample Circuit Court Forms and Instructions 
        
       General District Court
         Forms Available for Completion Online
             Traffic 
               Criminal 
               Civil 
               General 
            
           Form-Related Information 
           District Court Forms List 
           District Court Forms Manual 
        
       Juvenile and Domestic Relations District Court 
         Forms and Instructions 
           Form-Related Information 
           Uniform Interstate Family Support Act (UIFSA) Forms 
           District Court Forms List 
           District Court Forms Manual 
        
       Judicial Inquiry and Review Commission Complaint Form 
       Judicial Settlement Conference 
       Mediation
         Circuit Court Mediation 
        
       Parent Education Self Evaluation 
    

  Judicial Branch Agencies
  
    Judicial Inquiry and Review Commission
     About 
       Canons of Judicial Conduct 
       Complaint Form 
       Rules
       Judicial Ethics Advisory Committee
         Order Creating (JEAC) 
           Opinions Issued by the Judicial Ethics Advisory Committee 
        
     
    
     Virginia Board of Bar Examiners 
     Virginia Criminal Sentencing Commission 
     Virginia State Bar 
  
 Programs
     Assistance with Protective Orders (I-CAN!)
         I-CAN!TM Virginias Online Forms Completion System for Protective Orders 
           I-CAN! Resources
             Frequently Asked Questions 
               Manual for Local Workgroups 
            
           Court-Specific Information for Filing Protective Order Petitions 
           Juvenile and Domestic Relations District Court 
        
	  
	   Concluded Programs and Studies 
         Commission on Mental Health Law Reform 
            
               Judicial Boundary Realignment Study 
 
               Judicial Performance Evaluation (JPE) 
 
               Pandemic Flu Preparedness Commission 
 
        
       Drug Treatment Courts
         About 
           Directory of Drug Treatment Courts By Model and Locality 
           Drug Treatment Court Act - Virginia Code § 18.2-254.1 
           Drug Treatment Court Models 
           Drug Treatment Court Standards 
           Evaluation Reports
           Informational Video 
           Resources and Reference Materials
             Information for Local Drug Treatment Court Programs 
               Publications 
            
           Statewide Advisory Committee
             Advisory Committee Structure 
               Members 
               Meeting Schedule and Minutes 
            
           Training Calendar 
        
       Foreign Language Services
         Certification
             Certification Requirements 
               Frequently Asked Questions About Certification 
               Program Information and Registration 
               Study Materials 
            
           Frequently Asked Questions About Interpreters 
           Standards and Guidelines
             Code of Professional Responsibility for Interpreters 
               Guidelines for Serving Non-English Speakers in the Virginia Court System 
            
           Other Interpreter Services
             Blind and Vision Impaired 
               Deaf and Hard of Hearing 
            
        
       Guardians Ad Litem (GAL)
         Programs
             Guardians Ad Litem for Children 
               Guardians Ad Litem for Incapacitated Persons (Adults) 
            
           Complaints Regarding Guardians Ad Litem 
        
       Hearing Officers
         Deskbook 
           System Rules of Administration 
        
       Journey Through Justice 
     
       Judicial Settlement Conference
         Forms 
           Frequently Asked Questions 
           Judges 
           Procedures
             Checklist for Court Personnel 
               Checklist for Lawyers 
             Statistics
         
        
       Mediation
         Certification and Training
             Certification Requirements 
               Helpful Things to Consider Before Taking Mediation Training 
               Calendars of Training Courses and Conferences 
               Child Support Training Presentation 
            
           Circuit Court Mediation
             Find a Circuit Court Mediator 
               Forms 
               Resources and Reference Materials 
            
           Complaint Process
             Complaint Procedures for Mediators Certified to Receive Court-Referred Cases  
               Mediation Complaint Form [Form ADR - 1004] 
               Standards of Ethics and Professional Responsibility for Certified Mediators 
            
           Directories 
           Frequently Asked Questions About Mediation 
           Forms and Applications 
           Mediation Information System
             Instructions for Mediation Information System 
            
           Resources and Reference Materials
             Alternative Dispute Resolution Overview and Statistics (PowerPoint) 
               General Information 
               Child Dependency Mediation 
            
           Standards and Guidelines
             Guidelines 
               Standards of Ethics and Professional Responsibility for Certified Mediators 
               Statutory References Governing Mediation Procedures 
            
        
      
           Parent Education
         Find a Parent Education Seminar 
		   Circuit Court 
               Juvenile &amp; Domestic Relations Court              
        
           Information for Providers 
           Resources and Reference Materials 
			
            
		  
         Judicial Branch Expenditures 



    
    
  
  
    
      &nbsp;&nbsp;&nbsp;&nbsp;For
                Citizens
          &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For
                Legal Community
          &nbsp;&nbsp;&nbsp;For
                Students/Teachers
          
        
    
    


    
      
        
          
            
        
        
      
      
    
    
    


    
      
        Welcome to the Web site of Virginia’s Judicial System
          Our aim is to assure that disputes are resolved justly, promptly, and
          economically through a court system unified in its structures and administration.
          This system is comprised of the Supreme Court of Virginia, the Court
          of Appeals of Virginia, circuit courts in thirty-one judicial circuits,
          general district and juvenile and domestic relations district courts
          in thirty-two districts, and magistrates in offices in thirty-two districts.
          The administrative office of the courts, known in Virginia as the Office
          of the Executive Secretary, supports the administration of the court
          system under the direction of the Chief Justice and the Executive Secretary.         
        
        Virginia Judicial Workload Assessment Report
          Chapter 601, Virginia Acts of Assembly (2012), directed the Supreme Court of Virginia to "develop and implement a weighted 	caseload system to precisely measure and compare judicial caseloads throughout the Commonwealth on the circuit court, general 	district court, and juvenile and domestic relations district court levels" and to develop "a recommended plan for the realignment of the circuit and district boundaries."  In response to the legislation, the Supreme Court of Virginia's Office of the Executive Secretary contracted with the National Center for State Courts to develop a weighted caseload system for Virginia's trial courts and to recommend a plan for the realignment of the circuit and district boundaries.  The Virginia Judicial Workload Assessment Report was submitted to the Court by the National Center for State Courts as a result of the workload assessment study they completed, and it details the weighted caseload system they developed and includes their recommendations regarding boundary realignment in Virginia.         
        
        Press
        Releases
The
          Supreme Court of Virginia to Review Proposed Rule 1A:8  
          Supreme
            Court of Virginia Establishes Access to Justice Commission
          Order
            Establishing Virginia Access to Justice Commission 
          
        2013
          State of the Judiciary Address
          Presented on May 14, 2013, to the Judicial Conference of Virginia, by the Honorable Cynthia D. Kinser, Chief Justice.         
        &nbsp;
        
         
        
          How Do I ...?
          
            
              
          
          
        
        
        &nbsp;
        &nbsp;
        &nbsp;
        &nbsp;
        &nbsp;
        &nbsp;
        &nbsp;
        
        &nbsp;
        &nbsp;
        &nbsp;
      
      
    
    
    
      Quick Links
      
       RSS
      
      What's
          New
      
      Pay
          Traffic Tickets and Other Offenses
      
      Employment
          Opportunities
      
      Find
          a Local Court
      
      Opinions
      
      Rules
          of the Supreme Court of Virginia
      
      Frequently
          Asked Questions
      
      Legal
          Links
      
      Site
          Map
      
      Maps of Virginia
      
      
        
        By
              Judicial Circuit/District
          By
              Magisterial Region
        
      
     
    
           
          
Page Translation

Language Translation Disclaimer


       

    
  
  
  
Office of the Executive Secretary
Supreme Court of Virginia
100 North Ninth Street
Richmond, Virginia 23219 
Copyright 2009 Office of the Executive Secretary, Supreme Court of Virginia.  All rights reserved.WAI Level A Compliant
To report technical problems with our Web site, please contact the webmaster.  The webmaster will not respond to inquiries seeking legal advice or about specific cases.  Questions about specific cases should be directed to the court in which the case has been or will be filed.




